Case 1:18-cv-05391-SCJ Document 159-9 Filed 12/16/19 Page 1of 3

Exhibit I
9,

Case 1:18-cv-05391-SCJ Document 159-9 Filed 12/16/19 Page 2 of 3

DECLARATION UNDER PENALTY OF PERJURY
PURSUANT TO 28 U.S.C, § 1746

. My name is Kilton Smith. I am over eighteen years of age and competent to

testify to the matters contained herein.
I am a resident of Houston County in Georgia and my residence address is
173 Booth Road, Warner Robbins, Georgia 31088.
I have been living at my home in Warner Robbins for over fifty years.
I did not vote in recent elections, but I want to be able to vote.
A Fair Fight Action staff member told me that I was on the list to be removed
from the voter rolls. I do not want to lose my right to vote. I want to stay
registered to vote.
I did not receive any notice that I was going to be removed from the voting
rolls. If I had received a letter telling me I would be removed, I would have
responded to make sure that I could stay registered to vote.
I give this Declaration freely, without coercion, and without any expectation
of compensation or other reward.

I understand that in giving this Declaration, that I am not represented by a
lawyer. Nor has any lawyer asked me to be their client or to serve in anyway
as anything other than a witness in this litigation.

I declare under penalty of perjury that the foregoing is true and correct.
Case 1:18-cv-05391-SCJ Document 159-9 Filed 12/16/19 Page 3 of 3

Further affiant sayeth not, this the is day of Dec ey bee , 2019.

Sie

ilton Smith

